                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA



 UNITED STATES OF AMERICA                        )
                                                 )
                                                 )           Case No. 1:06-CR-140-002
 v.                                              )
                                                 )           Chief Judge Curtis L. Collier
                                                 )
 TOMMY PHILLIPS                                  )


                                            ORDER

        On April 18, 2007, United States Magistrate Judge William B. Mitchell Carter conducted

 a plea hearing in this case and filed a Report and Recommendation (“R&R”). The R&R

 recommends (1) the Court accept the defendant’s guilty plea as to the lesser included offenses1 of

 Count One of the Indictment; (2) the Court adjudicate the defendant guilty of the charges to which

 he has pleaded; (3) the Court accept the defendant’s plea agreement at the time of sentencing; and

 (4) the defendant remain in custody until sentencing (Court File No. 155).

        Neither party has filed an objection to the R&R within the given ten days. Therefore, after

 reviewing the record, the Court ACCEPTS and ADOPTS the R&R (Court File No. 155) pursuant

 to 28 U.S.C. § 636(b)(1), and ORDERS as follows:

        (1) The defendant’s guilty plea as to the lesser included offenses of Count One of the

 Indictment is ACCEPTED;

        (2) The defendant is hereby ADJUDGED guilty of the charges to which he has pleaded;


        1
         According to the R&R, the defendant pleaded to conspiracy to distribute 500 grams or more
 of a mixture and substance containing cocaine and 100 kilograms or more of a mixture and
 substance containing a detectable amount of marijuana, in violation of 21 U.S.C. §§ 846, 841(a), &
 (b)(1)(B).


Case 1:06-cr-00140-CLC-CHS          Document 193        Filed 05/10/07        Page 1 of 2    PageID
                                          #: 105
        (3) A decision to accept the plea agreement is DEFERRED until sentencing; and

        (4) The defendant SHALL REMAIN in custody until sentencing in this matter. Sentencing

 is set for Thursday, July 26, 2007, at 9:00 a.m.



        SO ORDERED.

        ENTER:


                                             /s/
                                             CURTIS L. COLLIER
                                             CHIEF UNITED STATES DISTRICT JUDGE




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Case 1:06-cr-00140-CLC-CHS          Document 193     Filed 05/10/07    Page 2 of 2      PageID
                                          #: 106
